      Case 2:23-cv-00118-KHR        Document 115      Filed 12/16/24   Page 1 of 12




Timothy M. Stubson, Wyo. Bar. No. 6-3144
Holly Tysse Wyo. Bar. No. 7-5553
Brandon E. Pryde Wyo. Bar. No. 8-6883
Crowley Fleck, PLLP
111 West 2nd Street, Suite 220
Casper, WY 82601
(P) 307-265-2279
tstubson@crowleyfleck.com
htysse@crowleyfleck.com
bpryde@crowleyfleck.com

and

Eugene M. LaFlamme (admitted pro hac vice)
Jared B. Giroux (admitted pro hac vice)
Jillian L. Lukens (admitted pro hac vice)
McCoy Leavitt Laskey LLC
N19 W24200 Riverwood Drive, #125
Waukesha, WI 53188
(P) 262-522-7000
elaflamme@MLLlaw.com
jgiroux@MLLlaw.com
jlukens@MLLlaw.com

Attorneys for Defendants,
Walmart Inc. and Jetson Electric Bikes, LLC

                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING

 STEPHANIE WADSWORTH                             )
 Individually and as Parent and Legal Guardian   )   Case No. 2:23-cv-00118-NDF
 of W.W., K.W., G.W., and L.W., minor children   )
 and MATTHEW WADSWORTH                           )   DEFENDANTS JETSON
                                                 )   ELECTRIC BIKES, LLC AND
        Plaintiff,                               )   WALMART INC.’S RESPONSE
                                                 )   MEMORANDUM IN OPPOSITION
 v.                                              )   TO PLAINTIFFS’ MOTION TO
                                                 )   EXCLUDE EXPERT TESTIMONY
 WALMART, INC. and                               )   OF GREGORY GORBETT, PH.D.
 JETSON ELECTRIC BIKES, LLC                      )
                                                 )
        Defendants.                              )

       WALMART INC. (“Walmart”) and JETSON ELECTRIC BIKES, LLC (“Jetson”),

(collectively “Defendants”), by and through their attorneys, Crowley Fleck PLLP and McCoy
       Case 2:23-cv-00118-KHR                  Document 115            Filed 12/16/24          Page 2 of 12




Leavitt Laskey LLC, hereby submit their response in opposition to Plaintiffs’ Motion to Exclude

the Expert Testimony of Gregory Gorbett, Ph.D.

                                                   ARGUMENT

         Plaintiffs do not question Gorbett’s qualifications or whether his opinions are relevant.

Rather, Plaintiffs contend that Gorbett’s computational fluid dynamics modeling opinions are

unreliable because they are based on incomplete data and are duplicative of other experts. This is

not true. Gorbett’s opinions meet Rule 702’s reliability and admissibility standards as he conducted

computer simulations to compare the two competing fire origin hypotheses consistent with NFPA

921. Moreover, Gorbett’s opinions are not duplicative of any other proffered expert as he is the

only expert that has assessed the competing fire origin theories from a computational fluid

dynamics or fire dynamics computer modeling perspective.1 2

I.       GORBETT’S OPINIONS MEET THE ADMISSIBILITY STANDARDS SET
         FORTH IN RULE 702 FOR EXPERT TESTIMONY.

         Plaintiffs do not argue that Gorbett is unqualified, nor do they contend that his testimony

will not assist the trier of fact. Therefore, the only issues for the Court to consider under Rule 702

are whether Gorbett’s opinions are based on sufficient facts or data, and are the product of reliable

principles and methods.




1
  Plaintiffs cite to Exhibit B throughout their memorandum, but the citations do not correlate to Exhibit B. (Doc 110).
Exhibit B is a 16-page document that consists of Gorbett’s curriculum vitae. (Id.) Moreover, Plaintiffs indicate at pg.
3 of the memorandum that Exhibit B is Gorbett’s deposition, however, it is not. If these citations are supposed to be
to Gorbett’s deposition, that transcript was not attached nor are there any corresponding line designations for the cited
testimony.
2
  Plaintiffs were required to meet and confer with Defendants regarding all non-dispositive motions. U.S.D.C.L.R.
7.1(b)(1). “The moving party shall state in the motion the specific efforts to comply with this rule and the position of
the opposing party. A motion may be summarily denied for failure to certify conferral …” U.S.D.C.L.R. 7.1(b)(1)(A).
Plaintiffs did not meet and confer on this motion and did not include the required meet and confer statement in the
motion. As such, Plaintiffs’ motion can be summarily denied due to this procedural defect before the Court even
considers the motion’s merits – which are similarly lacking.

                                                           2
      Case 2:23-cv-00118-KHR           Document 115        Filed 12/16/24      Page 3 of 12




        Gorbett’s role was to assess the two competing fire origin hypotheses and determine which,

if either, fire dynamics computer modeling supports. Plaintiffs ignore the fact that Gorbett’s

methodology and work is rooted in the scientific method – the well-accepted standard for forensic

fire and explosion origin and cause investigations. See e.g. United States v. Santiago, 202 F. App'x

399, 401 (11th Cir. 2006). Further, omitted from Plaintiffs’ motion, is the fact that computer

modeling is authorized under NFPA 921. In fact, in the chapter dedicated to identifying a fire’s

area of origin – Chapter 18 in both the 2021 and 2024 editions – NFPA 921 Section 18.6.2.2 states:

        18.6.2.2. Fire Modeling. Fundamentals of fire dynamics can be used to test
        hypotheses regarding fire origin. Such fundamentals are described in the available
        scientific literature and are incorporated into fire models ranging from simple
        algebraic equations to more complex computer fire models (see 21.4.8). The
        models use incident-specific data to predict the fire environment given a proposed
        hypothesis. The results can be compared to physical and eyewitness evidence
        to test the origin hypothesis. Models can address issues related to fire
        development, spread, and occupant exposure.

(LaFlamme Dec. ¶¶6-7, Ex. 1-2: NFPA 921 §18.6.2.2.) (emphasis added).

        As referenced in the above quoted section, Section 21.4.8 in both the 2021 and 2024

editions further states:

        21.4.8 Fire Dynamics Analysis. Fire dynamics analyses consist of mathematical
        equations derived from fundamental scientific principles or from empirical data.
        They range from simple algebraic equations to computer models incorporating
        many individual fire dynamics equations. Fire dynamics analysis can be used to
        predict fire phenomena and characteristics of the environment such as the
        following:

            (1) Time to flashover
            (2) Gas temperatures
            (3) Gas concentrations (oxygen, carbon monoxide, carbon dioxide, and others)
            (4) Smoke concentrations
            (5) Flow rates of smoke, gases, and unburned fuel
            (6) Temperatures of the walls, ceiling, and floor
            (7) Time of activation of smoke detectors, heat detectors, and sprinklers
            (8) Effects of opening or closing doors, breakage of windows, or other physical
                events.



                                                 3
      Case 2:23-cv-00118-KHR            Document 115         Filed 12/16/24    Page 4 of 12




(LaFlamme Dec. ¶¶6-7, Ex. 1-2: NFPA 921 § 21.4.8). Gorbett specifically compared his modeling

results to the physical and eyewitness evidence consistent with NFPA 921 § 18.6.2.2. (LaFlamme

Dec. ¶9, Ex. 4: See Generally Gorbett report). Within the two competing fire origin theories are

significant fire development, fire spread and occupant exposure/tenability issues, which Gorbett’s

models assessed. (Id.). This is exactly how NFPA 921 says computer fire modeling should be used

for fire investigations. (LaFlamme Dec. ¶¶6-7, Ex. 1-2: NFPA 921 §18.6.2.2). Moreover, in his

report, Gorbett walks through the above eight fire phenomena and environmental characteristics

listed in NFPA 921 § 21.4.8, as well as the methodology and calculations he used to assess these

factors. (LaFlamme Dec. ¶9, Ex. 4: See Generally Gorbett report). Despite the above, Plaintiffs

still contend that Gorbett failed to consider sufficient facts and data.

       A. Gorbett’s opinions are based on sufficient facts and data.

       Here, all of Plaintiffs alleged criticisms are areas for cross-examination and do not go

toward the admissibility of Gorbett’s opinions or his application of the facts and data to his widely

accepted methodology. “Questions relating to the bases and sources of an expert’s opinion affect

the weight…rather than its admissibility…” United States v. 14.38 Acres of Land, 80 F.3 d 1074,

1077 (5th Cir. 1996). In fact, as noted in Defendants’ Rule 702 motion against King (Doc. 105),

the facts and data that Gorbett relies on are substantially more than what King utilized.

               1. Test burn.

       Plaintiffs first take issue with Gorbett’s test burn on the exemplar smoking shed in that he

apparently did not accurately assess the shed’s contents. This is not true. Gorbett obtained an

exemplar shed of the “same make and model” and reviewed Mr. and Mrs. Wadsworth’s deposition

testimony to determine the type of items that were in the shed. (LaFlamme Dec. ¶8, Ex. 3: Gorbett

Dep. 31:20-33:1). Gorbett also testified that the “contents and the makeup or materials of those



                                                   4
      Case 2:23-cv-00118-KHR           Document 115        Filed 12/16/24      Page 5 of 12




contents” were not very significant to his test burn. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 32:9-

17; LaFlamme Dec. ¶9, Ex. 4: Gorbett Report, p. 13-15).

       The purpose of Gorbett’s test burn was to assess the combustibility of the shed and the

contents were just ancillary. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 35:2-14). As a result,

Plaintiffs’ criticisms of Gorbett’s test burn are unfounded. He used the same make and model shed,

and his focus was on the shed not the contents. Nonetheless, he still reviewed the testimony in the

record and added similar contents to the shed for his test burn. (LaFlamme Dec. ¶8, Ex. 3: Gorbett

Dep. 31:20-34:5). Moreover, Plaintiffs do not offer any argument as to how the contents that

Gorbett used were improper. Finally, Plaintiffs could have conducted their own test burn on the

smoking shed, but they did not.

               2. Weather.

       Plaintiffs also argue that Gorbett does not detail the effect or impact weather had on this

case. Plaintiffs, however, do not specify what aspect of the weather they contend should have been

considered more. Regardless, Gorbett testified that he “always considers the weather,” but the

“weather wouldn’t have [ ] an overall effect on the heat release rate curve.” (LaFlamme Dec. ¶8,

Ex. 3: Gorbett Dep. 37:1-12). Moreover, in his analysis, Gorbett considered the wind and

temperature that was present for his test burn as compared to the wind and temperature from the

date of the fire. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 37:13-39:5). Therefore, Gorbett did

consider the weather to the extent it was applicable to his analysis. Again, Plaintiffs do not offer

any specific evidence or authority to suggest that Gorbett’s weather considerations were improper.

               3. Exemplar residence.

       Amazingly, Plaintiffs go so far as to criticize Gorbett for not obtaining an exemplar

residence and burning that residence. Of course, Plaintiffs cite no authority to suggest that fire

modeling requires the expert to test burn an identical structure as that would not be practical. The
                                                 5
       Case 2:23-cv-00118-KHR                 Document 115            Filed 12/16/24         Page 6 of 12




absurdity of this criticism is exemplified by the fact that computer modeling has been used to help

investigate significantly larger accidents and fires as noted in Turner v. Liberty Mut. Fire Ins. Co.,

No. 4:07-CV-00163, 2007 WL 2713062 *4 (N.D. Ohio Sept. 14, 2007) (“perhaps the best evidence

of the software’s acceptance is its use in three recent nationally recognized fires: the World Trade

Center collapse, the Rhode Island nightclub fire, and the South Carolina sofa store fire.”).

         Moreover, Gorbett has numerous photos and diagrams of the structure, the Matterport 3D

scan, the Matterport building information modeling (BIM) file, and dimensions provided by the

investigators that were on site to ensure that his model was accurate. (LaFlamme Dec. ¶9, Ex. 4:

Gorbett Report, pg. 9-10, 18-19). As a result, it was not necessary for him to build an exemplar

structure or attend the scene inspections to obtain the building dimensional information needed for

his modeling as he was able to secure that information from other reliable sources.3 Further,

Plaintiffs do not identify any dimensional issues with Gorbett’s modeling platform that were

supposedly inaccurate. As a result, Plaintiffs’ arguments are without merit.

                  4. Smoldering cigarette.

         Plaintiffs next take issue with the fact that Gorbett discusses defense origin and cause

expert Joe Filas’ opinion that a smoldering cigarette scenario caused this fire. Gorbett is not

offering any cause opinions in this case, but he is able to comment on the opinions offered by other

experts.

         Further, Plaintiffs contend that there is no evidence that a cigarette was improperly

discarded. That is not true. Mrs. Wadsworth testified that she smoked in the smoking shed hours

before the fire. (LaFlamme Dec. ¶10, Ex. 5: S. Wadsworth Dep. 87:6-90:8). Moreover, fire

investigation studies have shown that a cigarette can smolder for “several hours” before it turns


3
  Section 4.4.3.3 in both the 2021 and 2024 NFPA 921 editions states that “the use of previously collected data from
a properly documented scene can be used successfully in an analysis of the incident to reach valid conclusions through
the appropriate use of the scientific method.” (LaFlamme Dec. ¶¶6-7, Ex. 1-2: NFPA 921 § 4.4.3.3).
                                                          6
      Case 2:23-cv-00118-KHR           Document 115        Filed 12/16/24      Page 7 of 12




into flames. (LaFlamme Dec. ¶9, Ex. 4: Gorbett Report, pg. 14). Also, even Plaintiffs’ origin

expert, Schulz, concedes that the careless disposal of smoking material (i.e., cigarettes) can cause

a smoldering fire that does not materialize into active flames for a number of hours. (LaFlamme

Dec. ¶11, Ex. 6: Schulz Dep. 136:9-137:13). Moreover, Gorbett’s computer models specifically

show that this fire could not have originated in G.W. and L.W.’s bedroom, but it could have

originated at the smoking shed. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 135:16-19; 194:1-14).

               5. Bedsheets and smoke in G.W. and L.W.’s bedroom.

       Plaintiffs offer a convoluted criticism about how G.W. and L.W.’s bed sheets heat release

calculations were missed, which somehow makes Gorbett’s fire model unreliable. Plaintiffs also

offer similar convoluted criticisms about the smoke that would have entered the home after the

window was breached. They say that both of these are “very important pieces of missing data”

without giving any explanation as to how they are important or what effect they have on the model.

       Regardless, Plaintiffs questioned Gorbett during his deposition on the bed sheets issue.

Gorbett stated that the evidence is consistent with his fire modeling that G.W. and L.W.’s bed did

ignite after the fire spread from the smoking shed to the structure through the bedroom window.

(LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 161:13-165:13). On the smoke issue, Gorbett’s modeling

does assess smoke, toxic gases and heat from a tenability issue. (LaFlamme Dec. ¶9, Ex. 4: Gorbett

Report, pg. 23-25). Gorbett also provided an analysis of how long it would take the smoke alarms

in the house to activate once the fire breached G.W. and L.W.’s window. (LaFlamme Dec. ¶8, Ex.

3: Gorbett Dep. 104:24-106:4). Again, Plaintiffs’ arguments are not accurate and are without merit.

               6. Model inputs.

       Plaintiffs’ final criticism is that Gorbett’s model relies on insufficient data because he

chooses what figures he inputs into the modeling software. Again, this is an area of cross-

examination. Moreover, Plaintiffs could have modeled this fire to assess Gorbett’s inputs, but they
                                                 7
      Case 2:23-cv-00118-KHR           Document 115        Filed 12/16/24     Page 8 of 12




did not. There is nothing improper about Gorbett’s process as he collected the data necessary to

follow the modeling methodology that is sanctioned by NFPA 921 and has been allowed as expert

testimony in other courts as noted below. As such, Plaintiffs arguments again fail on this issue.

       All of the supposed facts and data that Plaintiffs cite were considered to the extent

necessary by Gorbett’s modeling process. Gorbett performed 50 different fire modeling

simulations with a range of input data to evaluate the influence any of these variables had on the

outcome of the simulation. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 107:1-11). Further Plaintiffs

fail to explain how each of the items discussed in the above sections should have been considered

more or less, or how they make Gorbett’s opinions unreliable. While Plaintiffs can cross Gorbett

on these supposed issues, they do not affect the admissibility of his opinions under Rule 702.

       B. Gorbett’s principles and methodology are reliable and consistent with NFPA 921
          and the scientific Method.

       As noted above, NFPA 921 specifically allows the use of computer modeling to test various

origin hypotheses. NFPA 921 even recognizes that computer modeling has been used in litigation

matters. (LaFlamme Dec. ¶¶6-7, Ex. 1-2: NFPA 921 § 21.4.8.3.3)

       The modeling that Gorbett utilized was computational fluid dynamics. (LaFlamme Dec.

¶9, Ex. 4: Gorbett Report, pg. 16-25). The software that he used is called Fire Dynamics Simulator

(“FDS”), version 6.9, and its accompanying visualization software, Smokeview. (LaFlamme Dec.

¶¶8-9, Ex. 4: Gorbett Report, pg. 16; Ex. 3: Gorbett Dep. 92:4-12, 184:8-185:18). Both of these

are produced by the National Institute of Standards and Technology (“NIST”). (LaFlamme Dec.

¶¶8-9, Ex. 4: Gorbett Report, pg. 16; Ex. 3: Gorbett Dep. 92:4-12, 184:8-185:18).

       FDS and Smokeview are the result “of an international collaborative effort led by the NIST

and Fire Safety Research Institute, UL Research Institutes.” (Gorbett Dec. ¶6, Ex1: FDS Validation

Guide, pg. i). It is a generally accepted computer model and is the most widely used model in the

                                                 8
      Case 2:23-cv-00118-KHR           Document 115         Filed 12/16/24      Page 9 of 12




fire science industry. (LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 184:14-185:13). The program has

been verified and validated. (Gorbett Dec. ¶6, Ex.1: FDS Validation Guide generally LaFlamme

Dec. ¶9, Ex. 4: Gorbett Report, pg. 17-18). The FDS program has also been explicitly admitted

into evidence in other fire litigation cases. See e.g. Turner, 2007 WL 2713062 (N.D. Ohio Sept.

14, 2007); Ledbetter v. Blair Corp., No. 3:09-CV-843-WKW, 2012 WL 2464000, at *13-14 (M.D.

Ala. June 27, 2012).

       Moreover, Plaintiffs’ fire origin expert, Michael Schulz, even acknowledged that fire

modeling can be used to evaluate fire investigation opinions, “some of which may be the origin.”

(LaFlamme Dec. ¶11, Ex. 6: Schulz Dep. 92:7-12). That is exactly what Gorbett did in this case –

he evaluated the competing origin hypotheses.

       Plaintiffs correctly cite that the non-exclusive factors the Court may consider in assessing

whether an expert’s methodology is reliable is whether:

       1. The expert’s technique or theory can and has been tested;
       2. The theory has been subject to peer review or publication;
       3. The technique has a known or potential rate of error and whether there are
          standards for controlling the technique’s operation; and
       4. The theory has been generally accepted in the relevant scientific community.

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 593-594 (1993). Plaintiffs seem to

argue that Gorbett’s methodology is not reliable because it supposedly cannot be adequately tested

and it has an alleged potential error rate of 15%-20%. Plaintiffs do not contest – and therefore

concede – that Gorbett’s modeling has been properly subject to peer review and/or publication,

and that computer fire modeling has been generally accepted in the scientific community.

       With respect to Plaintiffs’ first argument – that the technique or theory cannot be tested –

that is just not accurate. Plaintiffs could have modeled this fire to assess the competing hypotheses,

but they did not. In Turner, the court noted that the FDS software satisfies the expert testimony

reliability requirements because “the software has been tested” and it “has been adequately subject
                                                  9
      Case 2:23-cv-00118-KHR               Document 115           Filed 12/16/24        Page 10 of 12




to peer review and publication.” Turner, 2007 WL 2713062 *3. In fact, NIST published a 1,200+

page guide which describes the lengthy and detailed validation process that NIST went through to

validate the FDS software. (Gorbett Dec. ¶6, Ex.1 FDS Validation Guide generally).

        As to an alleged potential error rate, that was also addressed in Turner. The Turner court

stated that any potential error rate is an issue for cross-examination and does not negate the

admissibility of the expert testimony. Turner, 2007 WL 2713062 *3. Moreover, Gorbett testified

that any potential error rate is abrogated by the range of simulations he ran. (LaFlamme Dec. ¶8,

Ex. 3: Gorbett Dep. 109:1-10). In total, Gorbett ran about 50 different simulations. (LaFlamme

Dec. ¶8, Ex. 3: Gorbett Dep. 106:18-108:4, 135:7-15; 164:6-11). Gorbett explained that he runs so

many simulations to account for the differences and variables that need to be considered in a fire.

(LaFlamme Dec. ¶8, Ex. 3: Gorbett Dep. 107:1-11).4

        In short, the principles and methodology Gorbett used in his modeling are reliable and

consistent with NFPA 921, the scientific method and the fire science industry.

II.     GORBETT’S OPINIONS ARE NOT DUPLICATIVE OF ANY OTHER DEFENSE
        EXPERT.

        Plaintiffs’ final argument is that Gorbett’s opinions are duplicative of defense experts Brian

Strandjord and Joe Filas’ opinions. This is not true. Gorbett is a computational fluid dynamics

modeling expert, Strandjord is an electrical engineer and Filas is an origin and cause investigator.

Gorbett conducted computer model simulations to assess the competing origin hypotheses based

on fire development, fire spread and occupant exposure/tenability issues. Neither Filas nor

Strandjord undertook such an analysis. Therefore, there is no duplication in the defendants’

proffered expert testimony.




4
 This statement was made when Gorbett was questioned about the smoke in G.W. and L.W.’s bedroom – an issue of
contention that is described above. The statement, however, applies equally to all aspects of Gorbett’s modeling.
                                                       10
     Case 2:23-cv-00118-KHR            Document 115         Filed 12/16/24       Page 11 of 12




       While Gorbett and Strandjord’s opinions are building blocks for Filas’ opinion – none of

the three opinions are in any way duplicative. Plaintiffs could have, but did not, identify any

experts to discuss fire modeling and fire dynamics engineering. Defendants should not be punished

because Plaintiffs did not work-up their case. Plaintiffs also do not raise this duplicative argument

in either Rule 702 motion against Filas or Strandjord.

       Further, to the extent there is any duplication – which there is not – U.S.D.C.L.R. 26.1(e)(1)

specifically acknowledges that complex cases may require multiple expert witnesses with

“specialized areas of expertise within a larger general field.” In U.S. v. Hamilton, No. 10-CV-231-

J, 2014 WL 12814334 (D. Wyo. Mar. 10, 2014), this district court had to decide expert challenges

in a Clean Water Act case. The two experts at issue had testimony in “similar areas of expertise,

[but] not identical” and focused on similar topics, but with some “significant areas of difference.”

U.S. v. Hamilton, 2014 WL 12814334 at *6. In the Hamilton case, Judge Rankin ruled that in such

a situation, the trial judge should determine if there is duplicative testimony during trial. Id.

       Like a Clean Water Act case, fire cases are similarly complex. The fact that NFPA 921 is

an approximate 500-page guide with numerous topics exemplifies the complex nature of fire

investigations. Therefore, to the extent Gorbett, Strandjord and Filas may address some similar

topics, they are done so with significant areas of difference. As a result, this Court should reject

Plaintiffs’ duplicative argument.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion to Exclude the Purported Expert Testimony

of Gregory Gorbett, Ph.D. should be DENIED. If this Court is inclined to grant Plaintiffs’ motion,

Defendants request that the Court conduct a Daubert evidentiary hearing and hear testimony

directly from Gorbett on his methodology, opinions, and bases for his opinions.



                                                  11
    Case 2:23-cv-00118-KHR   Document 115      Filed 12/16/24   Page 12 of 12




                                  McCOY LEAVITT LASKEY LLC
                                  Attorneys for Defendants, Walmart Inc. and Jetson
                                  Electric Bikes, LLC


Dated: December 16, 2024          By:
                                         Eugene M. LaFlamme (pro hac vice)
                                         Jared B. Giroux (pro hac vice)
                                         Jillian L. Lukens (pro hac vice)
                                         McCoy Leavitt Laskey, LLC
                                         N19 W24200 Riverwood Drive, Suite 125
                                         Waukesha, WI 53188
                                         (P) 262-522-7000
                                         elaflamme@MLLlaw.com
                                         jgiroux@MLLlaw.com
                                         jlukens@MLLlaw.com

                                         and

                                         Timothy M. Stubson, Wyo. Bar No. 6-3144
                                         Brandon E. Pryde, Wyo. Bar No. 8-6883
                                         Holly L. Tysse, Wyo. Bar No. 7-5553
                                         Crowley Fleck, PLLP
                                         111 West 2nd Street, Suite 220
                                         Casper, WY 82601
                                         (P) 307-232-6901
                                         tstubson@crowleyfleck.com
                                         bpryde@crowleyfleck.com
                                         htysse@crowleyfleck.com




                                    12
